            Case 8:21-bk-12425-ES                             Doc 24 Filed 12/08/21 Entered 12/08/21 10:16:45                                Desc
                                                               Main Document    Page 1 of 4
 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. & Email Address                FOR COURT USE ONLY
 Rabin J. Pournazarian 186735
 Price Law Group, APC
 6345 Balboa Blvd. Suite 247
 Encino, CA 91316
 818-995-4540 Fax: 818-995-9277
 California State Bar Number: 186735 CA
 rabin@pricelawgroup.com
       Debtor(s) appearing without an attorney
       Attorney for Debtor(s)

                                                            UNITED STATES BANKRUPTCY COURT
                                                                  CENTRAL DISTRICT OF CALIFORNIA

 In re                                                                                               CASE NO.: 8:21-bk-12425-ES
          Kalani James Robert Green
                                                                                                     CHAPTER: 13


                                                                                                     DECLARATION SETTING FORTH POST
                                                                                                     PETITION, PRECONFIRMATION
                                                                                                     PAYMENTS ON:
                                                                                                     1. DEEDS OF TRUST [OR MORTGAGES]
                                                                                                     2. LEASES ON PERSONAL PROPERTY;
                                                                                                     3. PURCHASE MONEY SECURITY LIENS
                                                                                                     ON PERSONAL PROPERTY
                                                                                                     [LBR 3015-1(e) and LBR 3015-1(m)]


                                                                                        Debtor(s).
                                                                                                                     [No Hearing Required]



I, (Debtor's name), Kalani James Robert Green , hereby declare:

1.       I am the debtor in this chapter 13 bankruptcy case that was filed on                             October 5, 2021         .

2.       On the next page I have listed all the payments I have made to secured creditors and lessors since the filing of my
         Chapter 13 petition.

3.       I have provided the name of the secured creditor and/or lessor and the type of obligation to that secured creditor
         and/or lessor.

4.       I understand that I must update the information on the next page and keep it current until my plan is confirmed.




              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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         Case 8:21-bk-12425-ES                    Doc 24 Filed 12/08/21 Entered 12/08/21 10:16:45                                     Desc
                                                   Main Document    Page 4 of 4



                                             PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
6345 Balboa Blvd. Suite 247
Encino, CA 91316

A true and correct copy of the foregoing document entitled (specify): Declaration Setting Forth Post Petition, Preconfirmation
Payments On: Leases of Personal Property; Purchase Money Security Liens in Personal Property will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document. On 12/8/2021 , I checked the CM/ECF
docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
List to receive NEF transmission at the email addresses stated below:
CHAPTER 13 TRUSTEE: Amrane (SA) Cohen (TR), efile@ch13ac.com
ATTORNEY FOR DEBTOR: Rabin J Pournazarian, enotice@pricelawgroup.com
UNITED STATES TRUSTEE (SA), ustpregion16.sa.ecf@usdoj.gov

                                                                                    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 12/8/2021      , I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
after the document is filed.
DEBTOR
Kalani James Robert Green
16411 Martin Lane
Huntington Beach, CA 92649

CREDITORS
Shellpoint Mortgage
55 Beattie Pl #500
Greenville, SC 29601

Broadmoor Huntington Harbor Com. As
C/O Powerstone Property Management
9060 Irvine Center Drive, Suite 200
Irvine, CA 92618

                                                                                    Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on       , I served the following persons and/or entities by
personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                    Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
12/8/2021
12/7/2021                    Ashley Johnson                                            /s/ Ashley Johnson
Date                         Printed Name                                              Signature




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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